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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                    AIKEN DIVISION

 Donna Moyle Page Individually and as )                 C/A No.: 1:23-cv-04757-MGL-SVH
 Personal Representative of the Estate of )
 Arthur Curtis Page, II,                          )
                                                  )
                       Plaintiff,                 )
                                                  )
 v.                                               )   MOTION FOR SUMMARY JUDGMENT
                                                  )   ON BEHALF OF DEFENDANTS AIKEN
 Aiken County; Aiken County Sheriff’s Office; )       COUNTY, AIKEN COUNTY SHERIFF’S
 Michael E. Hunt Individually and in his Official )       OFFICE, MICHAEL E. HUNT,
 Capacity     as    Aiken     County     Sheriff; )    CHRISTOPHER OWENS, AND CLAY
 Christopher Owens Individually and in his )                       KILLIAN
 Official Capacity as Deputy of Aiken County )
 Sheriff’s Office/Aiken County, Clay Killian )
 Individually and in his Official Capacity as )
 County Administrator for Aiken County, John )
 Does,                                            )
                                                  )
                       Defendants.                )
                                                  )

       Defendants Aiken County, Aiken County Sheriff’s Office, Michael E. Hunt, Christopher

Owens, and Clay Killian (“Defendants”), by and through their undersigned counsel, hereby

move for an Order, pursuant to Rule 56, Fed. R. Civ. P., granting summary judgment in their

favor as to all claims asserted in the Complaint (ECF No. 1-2).

                                       INTRODUCTION

       Defendant Christopher Owens, acting in his capacity as a law enforcement officer with

the Aiken County Sheriff’s Office, shot and killed Arthur Page (“Page”) on May 21, 2022. The

instant action was filed on July 21, 2023, in the Aiken County Court of Common Pleas and

thereafter removed to this Court. After he was deposed, Defendant Owens filed a Motion for

Summary Judgment (ECF No. 24) (the “Initial Motion”) raising only the defense of qualified

immunity as to the Fourth Amendment claims asserted against him. After briefing on that

motion, the Magistrate Judge issued a Report and Recommendation (ECF No. 39) (the



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“Report”) in which she recommended that the District Judge grant the Motion for Summary

Judgment. The District Court has not yet ruled on the Report.

       Since the Initial Motion and the Report addressed only the subject of qualified

immunity as to Defendant Owens—and no other defendant or defense—the Defendants file

the instant motion in order to address the remaining claims and defenses. As set forth more

fully below, Defendants respectfully submit that summary judgment should be granted as to

all claims asserted against them.

                                 FACTUAL BACKGROUND

       Since the Initial Motion has already fully set forth the factual background, along with

supporting documentary and video evidence, and because the Report has already thoroughly

discussed the factual background, Defendants do not set forth any factual recitation herein.

Instead, Defendants refer to and incorporate herein by reference the factual discussion and

exhibits from Defendant Owens’ Motion for Summary Judgment (ECF No. 24-1, pp. 2-4),

Defendant Owens’ Reply (ECF No. 36, pp. 2-5), and the Report (ECF No. 39, pp. 2-9).

                                        DISCUSSION

Proper Parties

       In order to streamline the following discussion, the proper parties (and capacities) for

each of the various claims must be ascertained. First, Aiken County (the “County”) and Clay

Killian (the former Aiken County Administrator) are not proper parties to this action.

       The County is not a proper party to this action because it did not employ Defendant

Owens and because, in South Carolina, sheriffs and deputy sheriffs are state rather than

county officials. There have been a number of cases, both state and federal, to address this

issue. The most cited of the cases is Cone v. Nettles, 417 S.E.2d 523 (S.C. 1992), wherein

the South Carolina Supreme Court held that a deputy sheriff in South Carolina is a state rather




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than a county employee. See also Lampley v. Hulon, 854 S.E.2d 489, 491 (S.C. Ct. App.

2021) (“However, our supreme court held it is well-settled under South Carolina law that the

Sheriff and Sheriff's deputies are state, not county, employees.”); Edwards v. Lexington

County Sheriff’s Department, 688 S.E.2d 125, 127 n.1 (S.C. 2010) (“However, under South

Carolina law, the sheriff and sheriff's deputies are State, not county, employees.”). Likewise,

the United States District Court has held that “the sheriff and the county are distinct and

separate entities in South Carolina.” Patel v. McIntyre, 667 F. Supp. 1131, 1146 n.26 (D.S.C.

1987). See also Gulledge v. Smart, 691 F. Supp. 947 (D.S.C. 1988); Allen v. Fid. & Deposit

Co. of Maryland, 515 F. Supp. 1185, 1190 (D.S.C. 1981) (noting, in a case involving Aiken

County as a defendant and allegations of excessive force against a deputy of the Aiken

County Sheriff, that it “has long been clear that the County has no authority over the Sheriff

or his deputies as to matters of hiring, firing, training, discipline or the manner in which the

duties of the office are carried out” and holding that Aiken County was therefore not a proper

party). Therefore, the County is not a proper party to an action involving the acts of a sheriff’s

deputy. Nor would Clay Killian, who was the former Aiken County Administrator, have any

role in the present case.1

         As to the Defendant ACSO, there is no such legal entity. Rather, this is merely a

colloquial name used to refer to the Sheriff of Aiken County and his employees and deputies.

Because ACSO is not a separate legal entity and because referring to the ACSO is essentially

indistinguishable from referring to Defendant Sheriff Michael Hunt in his official capacity,

these two defendants will be referred to collectively as Defendant Hunt in his official capacity.

It is also unnecessary to separately address any allegations against Defendant Owens in his

official capacity, as this is merely another way of addressing allegations toward the entity for



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    Plaintiff has not adduced evidence of any involvement by this defendant.


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which he was acting. See Will v. Michigan Dept. of State Police, 491 U.S. 58, 71 (1989) (“[A]

suit against a state official in his or her official capacity is not a suit against the official but

rather is a suit against the official’s office.”) (internal citation omitted).

         As to the state law claims, the only proper party is Defendant Hunt in his official

capacity. The South Carolina Tort Claims Act is the exclusive remedy for any tort committed

by an employee of a governmental entity. S.C. Code Ann. § 15-78-70(a). Further, the Act

provides that the only proper party in such an action is the agency or political subdivision for

which the employee was acting. § 15-78-70(c). Therefore, the proper party for any state law

claim is Defendant Hunt in his official capacity.

         Based on the above, the only party-defendants and capacities that will be discussed

herein are Defendant Owens in his individual capacity (for the federal claims), Defendant

Hunt in his individual capacity (for the federal claims), and Defendant Hunt in his official

capacity (for any state law claims). All other entities and defendants should be dismissed.

    I.      FOURTH AMENDMENT CLAIMS

         As to Plaintiff’s first and second causes of action, which purport to split a single Fourth

Amendment claim for excessive force into two separate claims, Defendant Owens hereby

refers to and incorporates by reference his previous arguments in favor of summary judgment

(ECF Nos. 24 & 36). As set forth in those filings, and as evaluated in the Report, Defendant

Owens acted in an objectively reasonable manner because a reasonable officer in his position

would have had probable cause to believe that Page posed a threat of serious physical harm,

either to the officer or to others. Defendants therefore submit that the referenced filings should

dispose of any Fourth Amendment claims against them.

         Defendants recognize that the Initial Motion and Report dealt only with qualified

immunity, which has two prongs, only one of which deals with the merits of the Fourth

Amendment claim. See, e.g., Saucier v. Katz, 533 U.S. 194 (2001) (the first prong of qualified


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immunity considers whether “the facts alleged show the officer’s conduct violated a

constitutional right”); Gomez v. Atkins, 296 F.3d 253, 261 (4th Cir. 2002) (the second prong

of qualified immunity considers “whether, at the time of the violation, the constitutional right

was clearly established, that is, whether it would be clear to a reasonable officer that his

conduct was unlawful in the situation he confronted.”). To the extent the Report was intended

as a recommendation only as to the second prong of qualified immunity, Defendants submit

that the same analysis and conclusions can and should dispose of the Fourth Amendment

claims on the merits.

       The first and second causes of action in the Complaint appear to assert Fourth

Amendment claims against only Defendant Owens. To the extent these causes of action were

intended to reach any other defendant, summary judgment should be granted. The Supreme

Court has held that “masters do not answer for the torts of their servants” under §1983.

Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009). The Court also noted that mere “knowledge and

acquiescence” in the misconduct of subordinates is insufficient to establish supervisory

liability. Id. On the contrary, “each Government official, his or her title notwithstanding, is only

liable for his or her own misconduct.” Id. Stated differently, Plaintiff is required to “plead [and

prove] that each Government-official defendant, through the official’s own individual actions,

has violated the Constitution.” Id. at 676. As described by the Fourth Circuit, this requirement

is “designed to ensure that the serious burdens of defending against this sort of lawsuit are

visited upon a departmental supervisor only when the complaint plausibly suggests that the

supervisor engaged in his or her own misconduct.” Evans v. Chalmers, 703 F.3d 636, 661

(4th Cir. 2012) (Wilkinson, J., concurring) (internal alterations and quotation marks omitted).

Even if the Complaint could charitably be read to include any allegations of misconduct on

the part of Defendant Hunt, such a claim would fail where there was no predicate

constitutional violation by Defendant Owens. See id. at 654 (noting that “supervisors and


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municipalities cannot be liable under § 1983 without some predicate constitutional injury at

the hands of the individual state officer, at least in suits for damages.”) (internal alterations

omitted).

         Therefore, summary judgment should be granted as to all Fourth Amendment claims.

   II.      FOURTEENTH AMENDMENT CLAIMS

         In addition to the Fourth Amendment claims, the Complaint also asserts causes of

action for “deliberate indifference” pursuant to the Fourteenth Amendment. Any claims

pursuant to the Fourteenth Amendment are barred because the Supreme Court has explicitly

instructed that claims that a law enforcement officer has used excessive force in the course

of making an arrest must be analyzed under the Fourth Amendment’s objective

reasonableness standard rather than the more generalized notion of due process under the

Fourteenth Amendment. See Graham v. Connor, 490 U.S. 386, 395 (1989) (“Today we make

explicit what was implicit in Garner’s analysis, and hold that all claims that law enforcement

officers have used excessive force—deadly or not—in the course of an arrest, investigatory

stop, or other ‘seizure’ of a free citizen should be analyzed under the Fourth Amendment and

its ‘reasonableness’ standard, rather than under a ‘substantive due process’ approach.”).

Therefore, there is simply no Fourteenth Amendment claim implicated in the present

circumstances.

         To the extent the Fourteenth Amendment causes of action in the Complaint could be

read to assert any supervisory liability or municipal liability, such claims would fail because

there has been no predicate constitutional violation by Defendant Owens as discussed above

and as previously discussed in the Initial Motion and Report. See Chalmers, supra, at 654

(noting that “supervisors and municipalities cannot be liable under § 1983 without some

predicate constitutional injury at the hands of the individual state officer, at least in suits for

damages.”). Moreover, Plaintiff has no proper party against which to assert a municipal


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liability claim because the County has no involvement in the Sheriff’s law enforcement

operations and because Defendant Hunt is a state rather than municipal official. See Will v.

Michigan Dep’t of State Police, 491 U.S. 58, 70 (1989) (noting that the holding in Monell

creating municipal liability is limited to local government units that are not considered part of

the state).

            In any event, Plaintiff has not adduced any evidence of an unconstitutional policy or

custom that proximately caused a predicate constitutional violation. The law governing municipal

liability claims provides that local governments may be held liable for policies and customs that

deprive persons of their constitutional rights. Monell v. Dep’t of Soc. Servs. of City of New York,

436 U.S. 658 (1978). However, in Monell, the United States Supreme Court clearly held that

local governments cannot be held vicariously liable under 42 U.S.C. § 1983 for the acts of their

employees. Instead, liability rests only when the execution of a municipal policy or custom inflicts

the injury. Id. Plaintiff has not adduced any evidence that Page’s death (which itself must be a

constitutional violation) was caused by an unconstitutional policy or custom.

            In sum, there is no Fourteenth Amendment claim arising from the force used during an

arrest. Moreover, there is no proper party in this case against which such a claim may properly

be brought. Lastly, there is no evidence of a predicate constitutional violation or that such

violation was actually caused by an unconstitutional policy or custom. Therefore, summary

judgment should be granted in favor of Defendants for any Fourteenth Amendment claims.

     III.      NEGLIGENCE CLAIMS

            In addition to federal claims, the Complaint also asserts negligence claims arising out

of the same events. Defendants2 again submit that the discussion in the Initial Motion (ECF

Nos. 24 & 36) and the Report (ECF No. 39) conclusively establish that Defendant Owens


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 As mentioned above, the only proper party for any state law claims is Defendant Hunt in his
official capacity.


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acted in an objectively reasonable manner because a reasonable officer in his position would

have had probable cause to believe that Page posed a threat of serious physical harm, either

to the officer or to others, and he was therefore justified in using deadly force.

       A conclusion that an officer acted in an objectively reasonable manner during a

particular encounter is necessarily inconsistent with an argument that the same officer’s

conduct fell below the standard of care applicable to a negligence claim—that of a reasonable

person. Liability of a governmental entity under the South Carolina Tort Claims Act is

premised on traditional tort concepts including the “reasonable person standard.” See S.C.

Code Ann. § 15-78-20(a) (“liability for acts or omissions under this chapter is based on the

traditional tort concepts of duty and the reasonably prudent person’s standard of care in the

performance of that duty”) (Emphasis added). The “reasonable person” standard and the

“objective reasonableness” standard are the same. See State v. Mattison, 575 S.E.2d 852,

856 (S.C. Ct. App. 2003) (equating “objective reasonableness” to what a “reasonable person”

would know, understand, or do).

       Other courts have recognized that a finding of objective reasonableness also

disposes of a claim for negligence. See Sigman v. Town of Chapel Hill, 161 F.3d 782, 789

(4th Cir. 1998) (concluding that where police officers were entitled to qualified immunity

with respect to alleged Fourth Amendment violations because their use of force was

objectively reasonable, the officers’ conduct could not be found to be negligent or otherwise

wrongful for purposes of a state wrongful death action); City of Anderson v. Davis,

743 N.E.2d 359, 366 (Ind. App. Ct. 2001) (concluding that a federal court’s grant of

summary judgment against a plaintiff in his civil rights claim alleging use of excessive

force had collateral estoppel effect in the plaintiff’s state court claim for negligence,

precluding the plaintiff from arguing that the city was not entitled to immunity under the

Indiana Tort Claims Act because it had used excessive force); Estate of Fennell v.


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Stephenson, 137 N.C. App. 430, 528 S.E.2d 911, 916-17 (2000), rev’d on other grounds,

354 N.C. 327, 554 S.E.2d 629 (2001) (concluding that estate’s state law wrongful death

claim was barred by the collateral estoppel effect of the federal court’s summary judgment

ruling that the police officer, who shot and killed plaintiff’s decedent, was entitled to

qualified immunity on claim of Fourth Amendment violation because the issue was the

same: whether the officer’s use of deadly force was objectively reasonable under the

circumstances).

       However, even if the recommendations in the Report (if adopted) were not dispositive

of the negligence causes of action, such claims would still fail based on the immunities

provided by the South Carolina Tort Claims Act. The Tort Claims Act provides immunity for

any loss resulting from “the method of providing police . . . protection.” S.C. Code Ann. § 15-

78-60(6). The South Carolina court of appeals has held that this provision of the Tort Claims

Act provides immunity for police relating to the manner in which force is used against a

subject. See Huggins v. Metts, 640 S.E.2d 465, 467 (S.C. Ct. App. 2006) (holding this

subsection “specifically exempts the Police from liability concerning the methods which they

choose to utilize to provide police protection” in the context of the use of deadly force by

police).

       Likewise, to the extent the negligence claims are premised on a failure to adhere to or

adopt any policy, Defendants are entitled to immunity. Section 15-78-60(4) of the Tort Claims

Act provides that a governmental entity is not liable for a loss resulting from the “adoption,

enforcement, or compliance with any law or failure to adopt or enforce any law, whether valid

or invalid, including, but not limited to, any charter, provision, ordinance, resolution, rule,

regulation, or written policies.” The Court in Adkins v. Varn, 439 S.E.2d 822, 824 (S.C. 1993),

found that the provisions of § 15-78-60(4) are clear and unambiguous on their face, and are

not subject to judicial interpretation. A governmental entity cannot be liable and is immune


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from suit for any loss as a result of the alleged non-enforcement or failure to adopt a policy.

As a result, Defendants are immune from suit for any claim for negligence or gross negligence

related to the alleged failure to have or adhere to appropriate policies and procedures.

                                        CONCLUSION

        For the reasons set forth above, in addition to those discussed in the Initial Motion and

the Report, the Defendants are entitled to summary judgment as to all claims asserted against

them.


                                             Respectfully submitted,


                                              s/ Steven R. Spreeuwers
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August 7, 2024




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